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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES -- GENERAL

Case No.         CV 21-6332-JFW(MAAx)                                            Date: February 3, 2022

Title:           Tyrone Thompson -v- Buth Na Bodhaige, Inc.,


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                                 None Present
                 Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                   None

PROCEEDINGS (IN CHAMBERS):                 ORDER OF DISMISSAL

        In the Notice of Settlement filed on February 2, 2022, Docket No. 22, the parties represent
that they have settled this action. As a result, the Court dismisses this action without prejudice
subject to either party reopening the action on or before April 4, 2022. The Court will retain
jurisdiction for the sole purpose of enforcing the settlement until April 4, 2022. Thereafter, absent
further order of the Court, the dismissal of this action will be with prejudice. All dates in this action,
including the trial date are vacated.

         IT IS SO ORDERED.




                                                                                    Initials of Deputy Clerk sr

(Rev. 1/14/15)
